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                                                  United States Court of Appeals
                                                          FOR THE EIGHTH CIRCUIT

                                                          Prehearing Conference Program


         The United States Court of Appeals for the Eighth Circuit has established an early
intervention Prehearing Conference Program. The purpose of the program is twofold: (1) to
facilitate settlement discussions in civil cases by providing an impartial atmosphere for an open
discussion of the case and alternative methods of disposition and (2) to promote the delineation
of issues, early resolution of procedural problems, and effective administration of an appeal
throughout the appellate process. See 8th Cir. R. 33A.

        The program is directed by Mr. John Martin. Mr. Martin screens newly filed appeals
based on information furnished by both appellants and appellees in the court’s Appeal
Information Forms A and B. Contact with counsel is by telephone and in personal conferences
held in several cities throughout the Circuit. All communications with Mr. Martin are
confidential. Counsel can openly discuss and evaluate the issues and explore alternatives in a
non-adversarial setting without fear that the subsequent processing of the appeal or ultimate
disposition of the case will be adversely affected by participation in the program.

        Participation in the program is voluntary. However, the Court strongly encourages your
participation and cooperation. Over the past twenty years, the program has enabled many
appellate litigants to achieve mutually satisfactory resolution of certain issues or an overall
settlement prior to progressing through all stages of the appellate process. Issue delineation
enables counsel to focus only on those issues that need judicial resolution. The program has
helped relieve the ever-increasing caseload confronting the Court, and it has also saved litigants
and attorneys substantial amounts of time and money.

         In order for the program to function effectively certain information must be provided at
the initiation of the appeal. Eighth Circuit Rule 3B directs each civil appellant to: (1) file a
completed Appeal Information Form A with the Notice of Appeal at the time the Notice is filed
with the District Court clerk and (2) forward a copy of the completed Form A and a copy of
Appeal Information Form B to the appellee for completion. Appellee may complete Form B and
send it to the clerk of the Court of Appeals. If you have any questions about the Prehearing
Conference Program or the Appeal Information Forms, please contact Mr. Martin at (314)-244-
2499.

        Forms A and B are available from the District Court clerk and the Court of Appeals clerk
and can be found on the forms page of the Court of Appeals’ website at:
http://www.ca8.uscourts.gov and the District Court’s website at: http://www.mnd.uscourts.gov.

October 27, 2004




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